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 4
       Attorney for Defendant
 5     AILYN SOTO
 6
                                    UNITED STATES DISTRICT COURT
 7
                                SOUTHERN DISTRICT OF CALIFORNIA
 8                                    (Hon. Gonzalo P. Curiel)
 9     UNITED STATES OF AMERICA,                )      Case No. 21cr2703-GPC
                                                )
10                     Plaintiff,               )
                                                )      MOTION TO ALLOW DEFENDANT
11     v.                                       )      TO MOVE TO MEXICO
                                                )
12     AILYN SOTO,                              )
                                                )
13                     Defendant.               )      DATE: 6/24/22 @ 2:30 pm
                                                )      COURTROOM 2D
14                                              )
15               Defendant, AILYN SOTO, by and through her attorney, respectfully moves the
16     Court to allow her to move to Sinaloa, Mexico for the reasons stated in her attached
17     letter.
18               Justin Garcia, her probation officer, was contacted by defense counsel regarding
19     this request, and he is opposed for the reasons set forth in his attached email.
20               Additionally, Assistant United States Attorney Carlos Arguello was contacted
21     by defense counsel regarding this request, and he is opposed as well.
22               This motion was previously, and erroneously filed in 21cr2213-GPC.
23
       Dated: May 27, 2022                             s/Keith H. Rutman
24                                                     KEITH H. RUTMAN
                                                       Attorney for Defendant
25                                                     AILYN SOTO
                                                       Email: krutman@krutmanlaw.com
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